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                                                                                          05/18/18
                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF VIRGINIA
                                       CHARLOTTESVILLE DIVISION

   ELIZABETH SINES, ET AL.,                            CASE NO. 3:17-CV-00072
                                   Plaintiffs,
   v.                                                  ORDER
   JASON KESSLER, ET AL.,
                                                       JUDGE NORMAN K. MOON
                                   Defendants.


            A hearing on the motions to dismiss Plaintiffs’ Amended Complaint is set for May 24,

  2018 at 10:30 a.m. The Court allots the following time for oral argument:

        -   Counsel for Defendants Jason Kessler, Christopher Cantwell, Vanguard America, Robert

            Azzmador Ray, Nathan Damigo, Elliot Kline, Identity Evropa, Matthew Heimbach,

            Matthew Parrott, Traditionalist Worker Party, Jeff Schoep, National Socialist Movement,

            and Nationalist Front will be given 30 minutes of opening argument on his motions, with

            10 minutes for rebuttal.

        -   Counsel for Defendants Michael Hill, Michael Tubbs, and League of the South will be

            given 30 minutes of opening argument on his motion, with 10 minutes for rebuttal.

        -   Pro se Defendant Richard Spencer will be given 20 minutes of opening argument on his

            motion, with 10 minutes for rebuttal.

        -   Pro se Defendant Michael Enoch Peinovich will be given 20 minutes of opening

            argument on his motion, with 10 minutes for rebuttal.

        -   Counsel for Plaintiffs will be given 1 hour to oppose Defendants’ motions.

            It is so ORDERED.

            The Clerk of the Court is hereby directed to send a certified copy of this Order to

  Plaintiffs, Defendants, and all counsel of record.
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                      18th day of May, 2018.
        Entered this _____




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